              IN THE DISTRICT COURT OF THE UNITED STATES
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION

       UNITED STATES OF AMERICA                          )
                                                         )
                     vs.                                 )   3:93CR167-2-MU
                                                         )
       RICHARD DONELL HERRON                             )
       ___________________________________               )

                                           ORDER

       THIS MATTER is before the Court on Defendant’s Motion to Rescind Order Denying

Relief under 18 U.S.C.§3582(c)(2). The Government is hereby ordered to file a response to this

Motion by or before May 19, 2008. The Defendant will then have 14 days from the date of the

response to reply to the Government.

       IT IS SO ORDERED.


                                              Signed: May 6, 2008




      Case 3:93-cr-00167-GCM           Document 219     Filed 05/06/08     Page 1 of 1
